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                                     #:195180



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     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17
                     IN THE UNITED STATES DISTRICT COURT
18                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
19
     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and             )
     CERCACOR LABORATORIES, INC.,            )
21   a Delaware corporation                  ) NOTICE OF LODGING OF THE
                                             ) PARTIES’ ADMITTED TRIAL
22                Plaintiffs,                ) EXHIBITS
                                             )
23         v.                                ) Trial: Nov. 5, 2024
                                             )
24   APPLE INC., a California corporation    ) Hon. James V. Selna
                                             )
25                Defendant.                 )
                                             )
26                                           )
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1          Pursuant to the Court’s request in its November 15, 2024 email, Plaintiffs
2    Masimo Corporation and Cercacor Laboratories, Inc. (collectively, “Masimo”) hereby
3    lodge binders of the parties’ Admitted Trial Exhibits for the November 2024 trial on
4    Masimo’s claims for trade secret misappropriation, correction of inventorship, and
5    correction of ownership, and Apple’s defenses thereto. Additionally, Masimo hereby
6    lodges a thumb drive of the Admitted Trial Exhibits. The following is a list of the trial
7    exhibits included in the binders and thumb drive:
8       JTX 0006          JTX 0162          JTX 0317          JTX 0428          JTX 0706
        JTX 0008          JTX 0165          JTX 0320          JTX 0429          JTX 0736
9
        JTX 0010          JTX 0172          JTX 0332          JTX 0431          JTX 0751
10      JTX 0011          JTX 0173          JTX 0335          JTX 0434          JTX 0768
        JTX 0014          JTX 0176          JTX 0336          JTX 0511          JTX 0769
11
        JTX 0015          JTX 0177          JTX 0337          JTX 0512          JTX 0771
12      JTX 0016          JTX 0181          JTX 0341          JTX 0513          JTX 0776
        JTX 0023          JTX 0182          JTX 0343          JTX 0514          JTX 0777
13
        JTX 0024          JTX 0183          JTX 0344          JTX 0515          JTX 0780
14      JTX 0025          JTX 0184          JTX 0349          JTX 0516          JTX 0781
        JTX 0027          JTX 0185          JTX 0353          JTX 0518          JTX 0782
15
        JTX 0031          JTX 0186         JTX 0353C          JTX 0541          JTX 0784
16      JTX 0040          JTX 0194          JTX 0358          JTX 0542          JTX 0786
17      JTX 0045          JTX 0233         JTX 0367C          JTX 0556          JTX 0793
        JTX 0046          JTX 0255          JTX 0378          JTX 0558          JTX 0795
18      JTX 0047          JTX 0259          JTX 0390          JTX 0559          JTX 0798
19      JTX 0048          JTX 0260          JTX 0392          JTX 0566          JTX 0808
        JTX 0049          JTX 0263          JTX 0393          JTX 0605          JTX 0810
20      JTX 0058          JTX 0264          JTX 0394          JTX 0610          JTX 0811
21      JTX 0059          JTX 0265          JTX 0395          JTX 0614          JTX 0825
        JTX 0062          JTX 0270          JTX 0397          JTX 0628          JTX 0827
22      JTX 0064          JTX 0273          JTX 0400          JTX 0636          JTX 0828
23      JTX 0070          JTX 0274          JTX 0411          JTX 0648          JTX 0830
        JTX 0084          JTX 0278          JTX 0412          JTX 0649          JTX 0831
24      JTX 0140          JTX 0279          JTX 0415          JTX 0658          JTX 0832
25      JTX 0142          JTX 0283          JTX 0416          JTX 0672          JTX 0847
        JTX 0143          JTX 0293          JTX 0422          JTX 0677          JTX 0851
26      JTX 0151          JTX 0295          JTX 0423          JTX 0696          JTX 0852
27      JTX 0153          JTX 0297          JTX 0425          JTX 0702          JTX 0853
        JTX 0154          JTX 0307          JTX 0426          JTX 0703          JTX 0855
28      JTX 0161          JTX 0316          JTX 0427          JTX 0704          JTX 0859

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1       JTX 0880        JTX 1227        JTX 1769       JTX 2561         JTX 3647
        JTX 0881        JTX 1239       JTX 1786.1      JTX 2563         JTX 3657
2
        JTX 0935        JTX 1241        JTX 1790       JTX 2564         JTX 3668
3       JTX 0936        JTX 1262       JTX 1790.1      JTX 2565         JTX 3671
        JTX 0937        JTX 1267        JTX 1795       JTX 2725         JTX 3673
4
        JTX 0938        JTX 1268        JTX 1814       JTX 2726         JTX 3694
5       JTX 0939        JTX 1269        JTX 1827       JTX 2728         JTX 3707
        JTX 0940        JTX 1270        JTX 1828       JTX 2729         JTX 3733
6
        JTX 0941        JTX 1309        JTX 1847       JTX 2730         JTX 3766
7       JTX 1016        JTX 1312        JTX 1857       JTX 2731         JTX 3769
        JTX 1018        JTX 1344        JTX 1868       JTX 2732         JTX 3778
8
        JTX 1022        JTX 1351        JTX 1869       JTX 2733         JTX 3789
9       JTX 1041        JTX 1353        JTX 1870       JTX 2734         JTX 3808
10      JTX 1045        JTX 1354        JTX 1871       JTX 2735         JTX 3809
        JTX 1061        JTX 1363        JTX 1879       JTX 2748         JTX 3879
11      JTX 1063        JTX 1378        JTX 1882       JTX 2749         JTX 3881
12      JTX 1064        JTX 1413       JTX 1897.1      JTX 2750         JTX 3884
        JTX 1066        JTX 1442       JTX 1899.1      JTX 2752         JTX 3887
13      JTX 1068        JTX 1443       JTX 1900.1      JTX 2761         JTX 3979
14      JTX 1069        JTX 1444        JTX 1902       JTX 2801         JTX 3986
        JTX 1070        JTX 1445        JTX 1904       JTX 2824         JTX 3997
15      JTX 1072        JTX 1446        JTX 1906       JTX 2892         JTX 4181
16      JTX 1075        JTX 1447        JTX 1908       JTX 2901         JTX 4194
        JTX 1076        JTX 1448        JTX 1910       JTX 2937         JTX 4195
17      JTX 1077        JTX 1449        JTX 1912       JTX 2943         JTX 4196
18      JTX 1078        JTX 1506        JTX 1951       JTX 2974         JTX 4197
        JTX 1079        JTX 1557        JTX 2127       JTX 2978         JTX 4198
19      JTX 1080        JTX 1581        JTX 2217      JTX 2981.1        JTX 4199
20      JTX 1081        JTX 1644        JTX 2233       JTX 2987        JTX 4201.1
       JTX 1082.1       JTX 1673        JTX 2263       JTX 2998        JTX 4202.1
21     JTX 1082.2       JTX 1677        JTX 2266       JTX 3003         JTX 4204
22      JTX 1086        JTX 1716        JTX 2323       JTX 3044         JTX 4207
        JTX 1091        JTX 1719        JTX 2353       JTX 3050         JTX 4232
23      JTX 1114        JTX 1729        JTX 2354       JTX 3176         JTX 4233
24      JTX 1140        JTX 1742        JTX 2354       JTX 3571         JTX 4347
        JTX 1155        JTX 1743        JTX 2388       JTX 3573         JTX 4351
25      JTX 1156        JTX 1744        JTX 2402       JTX 3581       JTX 4354.01
26      JTX 1206        JTX 1754        JTX 2403       JTX 3583       JTX 4355.01
        JTX 1207        JTX 1755        JTX 2514       JTX 3584       JTX 4360.01
27      JTX 1209        JTX 1760        JTX 2556       JTX 3585         JTX 4376
28      JTX 1211        JTX 1766        JTX 2560       JTX 3625         JTX 4377

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1      JTX 4378         JTX 4688       JTX 5139        JTX 5181         JTX 5208
       JTX 4379         JTX 4689       JTX 5140        JTX 5182         JTX 5209
2
       JTX 4380         JTX 4690       JTX 5141        JTX 5183         JTX 5210
3      JTX 4381         JTX 4691       JTX 5142        JTX 5184         JTX 5211
       JTX 4419         JTX 4692       JTX 5143        JTX 5187         JTX 5212
4
      JTX 4425.01       JTX 5000       JTX 5144        JTX 5188         JTX 5213
5      JTX 4429        JTX 5002.1      JTX 5145        JTX 5189         JTX-P-1p
       JTX 4553         JTX 5031       JTX 5146        JTX 5190         JTX-P-2p
6
       JTX 4554         JTX 5032       JTX 5147        JTX 5191         JTX-P-5p
7      JTX 4637         JTX 5035       JTX 5148        JTX 5192        JTX-P-18p
       JTX 4642         JTX 5039       JTX 5149        JTX 5193        JTX-P-22p
8
       JTX 4643         JTX 5054       JTX 5150        JTX 5194        JTX-P-23p
9      JTX 4644         JTX 5071       JTX 5151        JTX 5195        JTX-P-98p
10     JTX 4646         JTX 5072       JTX 5159        JTX 5196        JTX-P-99p
       JTX 4667         JTX 5084       JTX 5164        JTX 5197       JTX-P-110p
11     JTX 4669         JTX 5085       JTX 5165        JTX 5198       JTX-P-135p
12     JTX 4675         JTX 5086       JTX 5167       JTX 5199.1      JTX-P-161p
       JTX 4677         JTX 5090       JTX 5168       JTX 5200.1      JTX-P-162p
13     JTX 4680         JTX 5091       JTX 5169        JTX 5201        JTX-P-164
14     JTX 4682         JTX 5118       JTX 5170        JTX 5202        JTX-P-169
       JTX 4683         JTX 5133       JTX 5171        JTX 5203        JTX-P-190
15     JTX 4684         JTX 5134       JTX 5173        JTX 5204
16     JTX 4685         JTX 5135       JTX 5175        JTX 5205
       JTX 4686         JTX 5136       JTX 5176        JTX 5206
17     JTX 4687         JTX 5137       JTX 5178        JTX 5207
18
                                         Respectfully submitted,
19
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     Dated: November 22, 2024            By: /s/ Kendall M. Loebbaka
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                                              Brian C. Claassen
25                                            Mark D. Kachner
26                                            Adam B. Powell
                                              Kendall M. Loebbaka
27                                            Daniel P. Hughes
28                                            Douglas B. Wentzel

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3                                                CERCACOR LABORATORIES, INC.
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